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 1   Dennis Roberts (SBN 36651)
     DENNIS ROBERTS, APC
 2   370 Grand Avenue, Sutie 1
     Oakland, California 94610
 3   Telephone: 510 465 6363
     Facsimile: 510 465 7375
 4   Email: roberts_dennis@sbcglobal.net
 5   Attorney for Defendant
     EDWIN GORDON TOY
 6
 7
 8                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9                                   SAN FRANCISCO DIVISION
10   UNITED STATES OF AMERICA,                             CR 05-00375 SI
11                  Plaintiff,
12          v.                                             STIPULATION TO ENLARGE BAIL
13   EDWIN GORDON TOY
14                  Defendant.
15   __________________________________/
16
17          COMES NOW defendant EDWIN GORDON TOY by and through his attorney Dennis
18   Roberts and presents the following Stipulation for the Court’s Order.
19          Defendant has an excellent business opportunity which requires his attending a
20   conference in Dallas, Texas. This conference will take place over a three day period, from
21   April 20 and EDWIN GORDON TOY will return to San Francisco on April 23. His request was
22   discussed with his PTS Officer who has no objection to leaving the jurisdiction for this limited
23   time. EDWIN will keep the PTS Officer informed of telephone numbers and addresses where he
24   can be reached. I will be attending the same conference and submit my cell phone number: 510
25   384 6363 for an additional PTS contact. I have also spoken with ANDREW SCOBLE, AUSA in
26   this matter and he has agreed to sign this Stipulation.
27          Dated: April 12, 2006                               ___/s/______________________
28                                                               DENNIS ROBERTS
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 1          Dated: April _12_, 2006                              __/s/_____________________
 2                                                               ANDREW SCOBLE, AUSA
 3
 4
 5
 6                                              ORDER
 7   Premises considered, it is hereby Ordered that EDWIN GORDON TOY be permitted to leave the
 8   Northern District of California to travel to Dallas, TX for the period commencing April 20, 2006
 9   and to return to the Northern District of California on April 23, 2006. He shall give the PTS
10   Officer all telephone numbers and addresses where he can be reached during this time frame.
11          SO ORDERED.
12
13                                                               ________________________
14                                                               HON. SUSAN ILLSTON
15                                                               U. S. DISTRICT JUDGE
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